         Case 5:22-cv-00068-FB-ESC Document 10 Filed 03/10/22 Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

DENYONNA N. REED,                                   )
                                                    )
       Plaintiff,                                   )
                                                    )
V.                                                  )        CIVIL ACTION NO. SA-22-CA-68-FB
                                                    )
I.Q. DATA INTERNATIONAL, INC.,                      )
                                                    )
       Defendant.                                   )

               ORDER FOR SCHEDULING RECOMMENDATIONS
       AND ADVISORY CONCERNING ASSIGNMENT OF MAGISTRATE JUDGE

        At the request of the Bar, the San Antonio District Judges have implemented a procedure
whereby a Magistrate Judge is assigned to each civil case at the time it is filed. The assignments are
made randomly and are evenly divided among the three San Antonio Magistrate Judges. If a pretrial
matter is referred by the District Judge, it will be handled by the Magistrate Judge to whom the case was
assigned. Similarly, if the parties consent to Magistrate Judge jurisdiction, the case will be placed on
the docket of the assigned Magistrate Judge for all future proceedings, including entry of judgment.
The Magistrate Judge assigned to this case is the Honorable Elizabeth S. Chestney.

       In an effort to assist the parties in resolving this dispute as expeditiously and efficiently as
possible, and in accordance with Rule CV-16 of the Local Court Rules of the Western District of Texas,

        IT IS HEREBY ORDERED that the parties shall submit a proposed scheduling order to the
Court within sixty days after any defendant has appeared. The parties shall first confer as required
by FED R. CIV . P. 26. The content of the proposed scheduling order shall include proposals for all
deadlines set out in the form for scheduling order attached hereto and contained in Appendix "B" to the
Local Rules. The parties shall endeavor to agree concerning the contents of the proposed order, but in
the event they are unable to do so, each party's position and the reasons for the disagreement shall be
included in the proposed schedule submitted to the court. In the event the plaintiff has not yet obtained
service on all defendants, the plaintiff shall include an explanation of why all parties have not been
served. The scheduling proposals of the parties shall be considered by the trial court, but the
setting of all dates is within the discretion of the Court. The parties shall indicate in the proposed
order that they have in fact conferred as required by the federal rules of procedure.

       The proposed scheduling order shall contain suggestions for the following deadlines:

       1. The parties shall complete ADR in compliance with Local Rule CV-88 (revised June 24,
2021), by             . A motion objecting to ADR must be filed no later than       (at least 60
days before that deadline.
          Case 5:22-cv-00068-FB-ESC Document 10 Filed 03/10/22 Page 2 of 7




        2. The parties asserting claims for relief shall submit a written offer of settlement to opposing
parties (the standard period being 90 days after the first defendant's appearance), and each opposing
party shall respond, in writing (the standard period being 104 days after the first defendant's
appearance).

        3. The parties shall file all motions to amend or supplement pleadings or to join additional
parties by (the standard period being 120 days after the first defendant's appearance).

         4. All parties asserting claims for relief shall file their designation of testifying experts and shall
SERVE ON ALL PARTIES, BUT NOT FILE the materials required by FED . R. CIV . P. 26 by (the
standard period being 90 days before the discovery deadline). Parties resisting claims for relief shall
file their designation of testifying experts and shall SERVE ON ALL PARTIES, BUT NOT FILE
the materials required by FED . R. CIV . P. 26 by (the standard period being 45 days before the close
of discovery). All designations of rebuttal experts shall be filed within 14 days of receipt of the report
of the opposing expert.

        5. An objection to the reliability of an expert's proposed testimony under Federal Rule of
Evidence 702 shall be made by motion, specifically stating the basis for the objection and identifying
the objectionable testimony, within (the standard period being 30 days) days of receipt of the written
report of the expert's proposed testimony, or within (the standard period being 30 days) days of the
expert's deposition, if a deposition is taken, whichever is later.

        6. The parties shall complete discovery (the standard period being six months after the first
defendant's appearance). Counsel may by agreement continue discovery beyond the deadline, but there
will be no intervention by the Court except in extraordinary circumstances, and no trial setting will be
vacated because of information obtained in post-deadline discovery.

        7. All dispositive motions shall be filed (the standard period being 30 days after the discovery
deadline). Dispositive motions and responses to dispositive motions shall be limited to 20 pages in
length. See Local Rule CV-7.

         8. This case will not be set for trial until after dispositive motions, if any, have been ruled
on. The Court will set a trial date and also set a deadline for the parties to file the matters required to
be filed in advance of trial in accordance with Local Rule CV-16. However, the parties should be aware
that if they choose to stay on this district court's docket (and do not consent to proceed to trial before
a United States Magistrate Judge), from time to time the Court has three or four day blocks of time
available and will not hesitate to accelerate the Scheduling Order deadlines and direct the parties to
appear for trial with as little as forty-eight hours' notice.




                                                      -2-
   Case 5:22-cv-00068-FB-ESC Document 10 Filed 03/10/22 Page 3 of 7




 9. All civil settings are subject to the Court's criminal docket.

10. All counsel are expected to abide by "Appendix A" attached hereto.

The parties shall submit the proposed order in a form similar to the attached.

 It is so ORDERED.

 SIGNED this 10th day of March, 2022.


                                  _________________________________________________
                                  FRED BIERY
                                  UNITED STATES DISTRICT JUDGE




                                            -3-
          Case 5:22-cv-00068-FB-ESC Document 10 Filed 03/10/22 Page 4 of 7




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

______________,                                       §
                                                      §
        Plaintiff,                                    §
                                                      §
V.                                                    § CIVIL ACTION NO. SA-__-CA-____-FB
                                                      §
_______________,                                      §
                                                      §
        Defendant.                                    §

                                SCHEDULING RECOMMENDATIONS

       The parties recommend that the following deadlines be entered in the scheduling order to control
the course of this case:

      1. The parties shall complete ADR in compliance with Local Rule CV-88 by
________________. A motion objecting to ADR must be filed no later than ________________.

       2. The parties asserting claims for relief shall submit a written offer of settlement to opposing
parties by ________________, and each opposing party shall respond, in writing, by
________________.

        3. The parties shall file all motions to amend or supplement pleadings or to join additional
parties by ________________.

        4. All parties asserting claims for relief shall file their designation of testifying experts and shall
serve on all parties, but not file the materials required by FED . R. CIV . P. 26 by ______________.
Parties resisting claims for relief shall filed their designation of testifying experts and shall serve on all
parties, but not file the materials required by FED . R. CIV . P. 26 by ______________. All designations
of rebuttal experts shall be designated within 14 days of receipt of the report of the opposing expert.

        5. An objection to the reliability of an expert's proposed testimony under Federal Rule of
Evidence 702 shall be made by motion, specifically stating the basis for the objection and identifying
the objectionable testimony, within ________________ days of receipt of the written report of the
expert's proposed testimony, or within ________________ days of the expert's deposition, if a
deposition is taken, whichever is later.

      6. The parties shall complete all discovery on or before ________________. Counsel may by
agreement continue discovery beyond the deadline, but there will be no intervention by the Court except


                                                     -4-
         Case 5:22-cv-00068-FB-ESC Document 10 Filed 03/10/22 Page 5 of 7




in extraordinary circumstances, and no trial setting will be vacated because of information obtained in
post-deadline discovery.

       7. All dispositive motions shall be filed no later than ________________. Dispositive motions
and responses to dispositive motions shall be limited to ________________ pages in length.

        8. The trial date will be determined at a later date by the Court. The parties shall consult Local
Rule CV-16 regarding matters to be filed in advance of trial. At the time the trial date is set, the Court
will also set the deadline for the filing of matters in advance of trial.

     9. All of the parties who have appeared in the action conferred concerning the contents of the
proposed scheduling order on ________________, and the parties have (agreed/disagreed) as to its
contents. The following positions and reasons are given by the parties for the disagreement as to the
contents of the proposed scheduling order ________________. Plaintiff offers the following
explanation of why all parties have not been served ________________.


                                                               ___________________________
                                                               (Signature)

                                                               ___________________________
                                                               (Print or type name)

                                                               ATTORNEY FOR
                                                               ___________________________
                                                               (Print or type name)



                                    CERTIFICATE OF SERVICE




                                                   -5-
Case 5:22-cv-00068-FB-ESC Document 10 Filed 03/10/22 Page 6 of 7

                                                  Appendix "A"




                                                 The Rule
                                     For the Practice of Law

     Treat others (including lawyers, parties, witnesses and Court staff)
                        as you would like to be treated.




                                 The Implementation of The Rule

     Our goal is the fair, peaceable and efficient resolution of disputes, and
     to seek the truth within the bounds of the rule of law.

     There is a difference between advocacy for the sake of prolonging
     advocacy and serving the best interests of clients in bringing litigation
     to closure.

     The law is only a part of life. It is easier to abide by The Rule if one
     occasionally breaks bread with one's adversary.

     Abide by the Texas Lawyer's Creed.


                          The Penalties for not abiding by The Rule

     The loss of respect and goodwill from one's professional colleagues,
     thus making the practice of law much less enjoyable.

     The writing of The Rule in multiples of fifty on a Big Chief tablet
     with a Number Two pencil.1

     The donation of numerous pictures of George Washington to
     deserving charitable organizations.

     Others within the discretion of the Court.



     Fred Biery
     United States District Judge



     1
         This penalty is reserved for those whose conduct is particularly childish.
    Case 5:22-cv-00068-FB-ESC Document 10 Filed 03/10/22 Page 7 of 7




Discourage litigation. Persuade your neighbors to
compromise whenever you can. Point out to them how
the nominal winner is often a real loser–in fees,
expenses, and waste of time. As a peacemaker the
lawyer has a superior opportunity of being a good man.
There will still be business enough.

                                 Abraham Lincoln

                                  -7-
